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1    LAWRENCE G. BROWN
     United States Attorney
2    CAROLYN K. DELANEY
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2798
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7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )            2:04-cr-00357-MCE
                                  )            2:07-cr-00105-MCE
12             Plaintiff,         )
                                  )
13        v.                      )
                                  )            STIPULATION AND ORDER
14                                )
     RICHIE MISHAL,               )
15                                )
               Defendant.         )
16   ____________________________ )
17        IT IS HEREBY stipulated between the United States of America
18   through its undersigned counsel, Carolyn K. Delaney, Assistant
19   United States Attorney, together with the defendant and his
20   counsel, David W. Dratman and Hayes Gable III, that the
21   sentencing currently scheduled for October 15, 2009, be vacated
22   and a sentencing hearing be scheduled for Thursday, January 28,
23   2010.
24        It is further stipulated and agreed between the parties that
25   the following schedule be adopted:
26        1.     The matter is referred to Probation:           10/15/09
27        2.     Judgment and sentencing date:                  1/28/10
28
                                           1
          Case 2:04-cr-00357-MCE Document 230 Filed 10/16/09 Page 2 of 3


1         3.   Motion for correction of                      1/21/10
               the Pre-Sentence Report shall
2              be filed with the court and
               served on the Probation Officer and
3              opposing counsel no later than:
4         4.   The Pre-Sentence Report shall be              1/14/2010
               filed with the court and disclosed
5              to counsel no later than:
6         5.   Counsel’s written objections to the           1/07/2010
               Pre-sentence Report shall be delivered
7              to the Probation Officer and opposing
               counsel no later than:
8
          6.   The Proposed Pre-Sentence Report shall        12/24/09
9              be disclosed to counsel no later than:
10   Dated: October 14 , 2009               Respectfully submitted,
11                                          LAWRENCE G. BROWN
                                            U.S. Attorney
12
                                            /s/ Carolyn K. Delaney
13
                                            CAROLYN K. DELANEY
14                                          Assistant U.S. Attorney
15
     Dated: October 14 , 2009               /s/ David W. Dratman
16
                                            DAVID W. DRATMAN
17
18                                          /s/ Hayes H. Gable III
19                                          HAYES H. GABLE III
                                            Attorneys for Richie Mishal
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          Case 2:04-cr-00357-MCE Document 230 Filed 10/16/09 Page 3 of 3


1                                     ORDER
2    IT IS HEREBY ORDERED: that the sentencing currently scheduled for
3    October 15, 2009, be vacated and a sentencing hearing be
4    scheduled for Thursday, January 28, 2010.
5         It is ordered that the following schedule be adopted:
6         1.   The matter is referred to Probation:          10/15/09
7         2.   Judgment and sentencing date:                 1/28/10
8         3.   Motion for correction of                      1/21/10
               the Pre-Sentence Report shall
9              be filed with the court and
               served on the Probation Officer and
10             opposing counsel no later than:
11        4.   The Pre-Sentence Report shall be              1/14/2010
               filed with the court and disclosed
12             to counsel no later than:
13        5.   Counsel’s written objections to the           1/07/2010
               Pre-sentence Report shall be delivered
14             to the Probation Officer and opposing
               counsel no later than:
15
          6.   The Proposed Pre-Sentence Report shall        12/24/09
16             be disclosed to counsel no later than:
17
     Dated: October 16, 2009
18
19                                    _____________________________
20                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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